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                  UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE


United States of America,
      Plaintiff

             v.
                                             Case No. 10-cr-112-01/02-SM

John R. Wiehl and
Franklin Non-Ferrous Foundry, Inc.,
      Defendants

                                    ORDER


      Defendant Franklin Non-Ferrous Foundry, Inc.’s motion to continue the

final pretrial conference and trial is granted (document no. 17). Trial has been

rescheduled for the April 2011 trial period. Defendant Franklin Non-Ferrous

Foundry, Inc. shall file a waiver of speedy trial rights not later than January 7,

2011. On filing of such waiver, the continuance shall be effective.

      The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial,

18 U.S.C. § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny the defendants the reasonable time necessary for effective

preparation taking into account the exercise of due diligence under the

circumstances.
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      Final Pretrial Conference is rescheduled for April 8, 2011 at

11;30 a.m.

      Jury selection will take place on April 19, 2011 at 9:30 a.m.



      SO ORDERED.




                                        StevenJ . McAuliffe
                                           Chief Judge


December 30, 2010

cc:   Bjorn Lange, Esq.
      Glenn Geiger, Esq.
      Mark Zuckerman AUSA
      U.S. Marshal
      U.S. Probation




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